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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ROME DIVISION


PATRICIA KENNEDY, Individually

         Plaintiff
    v.                                                    Civil Action No. 4:20-cv-00069-LMM

SHRINATHJI-KRUPA, INC.

      Defendant
____________________________________/

                      PLAINTIFF’S MOTION FOR
   ATTORNEY FEES, COSTS, EXPERT FEES AND LITIGATION EXPENSES WITH
                  MEMORANDUM OF LAW IN SUPPORT

                                                                     Order entered by the Court on

 January 20, 2021 (DE 28) granting Plaintiff s Motion for Entry of Default Judgment, moves this

 Court to enter an award of attorney s fees, costs, litigation expenses and expert fees.

                     PROCEDURAL HISTORY AND FACTUAL BACKGROUND

                                                                                           to 42 U.S.C.



 Kennedy, qualifies as a disabled person within the meaning of the ADA. Plaintiff is unable to

 engage in the major life activity of walking more than a few steps without assistive devices.

 Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and has

 limited use of her hands. She is unable to tightly grasp, pinch and twist of the wrist. The subject

 property is a hotel.

          Defendant was served with the summons and complaint on March 30, 2020 (DE 8) and

 failed to to respond. Pursuant to the Court’s Order granting Plaintiff’s Motion to Amend (DE18)

 entered on July 21, 2020, An Amended Complaint (DE 19) was filed. A Certificate of Service for
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the Amended Complaint (DE 20) was filed on July 23, 2020. Subsequently, a Clerk’s Entry of

Default (DE 27) was entered on January 20, 2021. On January 21, 2021, the Court entered its Order

(DE 23) (hereinafter “the Order”) granting the Plaintif’s Motion for Entry of Default Judgment

and finding that the Defendant is in violation of Title III of the Americans With Disabilities Act

by failing to provide accessibility information on the website www.romeinnandsuites.com. The

Court directed Plaintiff to submit an accounting of all attorney’s fees, costs and litigation expenses.

This motion follows.

                                    MEMORANDUM OF LAW

I.        PLAINTIFF IS ENTITLED TO HER ATTORNEY FEES, COSTS, LITIGATION
          EXPENSES AND EXPERT FEES

          Plaintiff retained undersigned counsel for the filing and prosecution of this action and

obligated herself                                           , and litigation expenses incurred in this

action.

          Under 42 U.S.C. § 12205 a plaintiff must be a prevailing party in order to be entitled to

                         . Buckhannon Bd. & Care Home, Inc. v. W.Va.

Res., 532 U.S. 598 (2001). Under Buckhannon , a plaintiff who, through judicial sanction, achieves

some material alteration of the legal relationship

Roberson v. Giuliani, 346 F.3d 75 (2d Cir. 2004); American Disability Association, Inc. v.

Chimielarz, 289 F.3d 1315 (11th Cir.2002); Habich v. City of Dearborn, 331 F.3d 524 (6th Cir.

2003); Barrios v. Cal. Interscholastic Fedn., 277 F.3d 1128 (9th Cir.2002) . Plaintiff is entitled to



§12205.



by the Plaintiff with Thomas B. Bacon, P.A. The agreement calls for billing at a rate of $425.00

per hour, or such high hourly rate as permitted by the Court, and all costs and expenses, including
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investigative fees, expert witness, and consultant fees, with recovery of said fees and costs to occur

only through an agreement to pay with the defendant, or pursuant to a court order.

II.    CALCULATING ATTORNEYS' FEES



fees that he or she would recover from a fee-paying client. Seldon v. 7-Eleven, Inc., 2016 U.S.

Dist. LEXIS 86898 *34 (N.D. Cal. 2016). In civil rights cases the standard method for determining

the                                                                 . The

is calculated by determining a reasonable hourly rate for the provision of legal services and

multiplying that rate by hours reasonably expended. See Hensley v. Eckerhart, 461 U.S. 424, 433

(1983). A reasonable hourly rate is the prevailing market rate in the relevant legal community for

similar services by lawyers of reasonable, comparable skills, experience, and reputation. See

Marisol A. v. Giuliani, 111 F.Supp.2d 381 (S.D.N.Y.2000). The relevant community to which the

Court should look is the District in which the case was brought.

the City of New York, Inc. v. The City of New York, 2003 WL 21782675 (S.D.N.Y. 2003); AR v.

New York City Department of Education, 407 F.3d 65 (2d Cir 2005); Access 4 All, Inc. v. Park

Lane Hotel, Inc., 2005 WL 3338555 (S.D.N.Y. 2005).

       The Affidavit and resume of Thomas B. Bacon are attached as Exhibit A and A-1. Attorney

Bacon has been a practicing attorney for 30 years. He has been a member of the Pennsylvania Bar

since 1989. He has been a member of the Florida Bar since 1998. He has been a member of the

Georgia Bar since 2008. He is a member of the United States District Courts for The Western

District of Texas, Southern District of Florida, Middle District of Florida, Northern District of

Florida, Northern District of Georgia, Northern District of Illinois, Western District of

Pennsylvania, Eastern District of Pennsylvania, District of Puerto Rico and the U.S. Courts of

Appeals for the Second, Third, Fourth, Sixth and Eleventh Circuits.
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       Attorney Bacon has successfully handled several hundred Title III ADA cases in the past

several years. He has handled such cases in all of the above courts, and has handled many

additional cases on a pro hac vice basis in the following United States District Courts: Northern

District Ohio, Southern District Ohio, Western District New York, Southern District New York,

Eastern District New York, District of Massachusetts, District of Maryland, Eastern District of

Virginia, District of South Carolina, Eastern District of North Carolina, Middle District of North

Carolina, Middle District of North Carolina Northern District of Georgia, Western, Middle and

Eastern Districts of Pennsylvania and the District of New Jersey. See Bacon Affidavit and Resume,

Exhibit A and A-1 Attorney Bacon seeks an hourly rate of $425.00.

time records are attached as Exhibit A-2.

       Attorney Kathy L. Houston has been an attorney since 2008 and is a member in good

standing in the Florida Bar and is a member of the United States District Court for the Southern

District of Florida, the Middle District of Florida, the Northern District of Florida, the Central

District of Illinois, and the Western District of Wisconsin. See Houston Affidavit, and Resume,

Exhibit B and B1, respectively. Attorney Houston seeks an hourly rate of $350.00. Attorney

                                                 -2.

       There is precedent for a finding that the requested rates for attorney Thomas B. Bacon and

Kathy L. Houston are reasonable. In Kennedy v. Satya Group, 2:17-cv-14393-RLR, DE 15 (S.D.

Fla. January 3, 2018                                                                     the same

rate requested in this matter), $425.00 per hour for attorney Thomas B. Bacon and $350.00 per

hour for attorney Kathy L. Houston) were reasonable. In Access for The Disabled, Inc. v. Sneekie

                         .,12-60288-Middlebrooks, DE 29 (S.D. Fla. May 15, 2013), Thomas B.

Bacon was awarded the hourly rate of $390.00. This rate was awarded after the Court reasoned

that it had been lowered because Mr. Bacon had assumed control in a late stage of the case. In
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Houston v. South Bay Investors, 9:13-cv-80193-DTKH (S.D. Fla. July 25, 2013), Phil Cullen was

awarded the hourly rate of $420.00. In Access for The Disabled, et al. v. Baers Furniture Co., Inc.

Case No. 0:07-cv-60953-KAM DE 29 (S.D. Fla. March 16, 2011), the United States District Court

for the Southern District of Florida issued a Report and Recommendation awarding fees to

Attorney Thomas B. Bacon at the hourly rate of $350.00. In Gomez v. Sun Cuisine, LLC, 1:18-cv-

22194-RNS, DE 19 (S.D. Fla. December 21, 2018), Judge Scola awarded Thomas B. Bacon the

hourly rate of $425.00 and attorney Duane Crooks the rate of $400.00. In Kennedy v. Pacifica

Tampa Ltd Partnership, 5:17-cv-442-JSM-PRL, DE 9 (M.D. Fla. March 3, 2018), Judge Moody

awarded $425.00 to Attorney Thomas B. Bacon and $350.00 to Attorney Christine Failey. In

Kennedy v. Stuart Centre Investors, LLC, 2:16-cv-14262 (S.D. Fla. 11/15/16) attorney Phil Cullen

was awarded his full fees at the rate of $420.00. Compare DE 13, requesting the hourly rate of

$420.00, with DE 16, awarding the requested fees without discount). Cullen and Bacon were

awarded $400.00/hr. in Kennedy v. Fountains of Boynton Assoc., I6-8I9OZ-CIV-MARRA, DE 22

(S.D. Fla. November 6, 2017). Phil Cullen was awarded $420.00/hr. in Kennedy v. 5096 Forest

Hill Investments, LLC, No. 9:15-cv-8100l -Rosenberg, DE 21. Judge Rosenberg explicitly found

the rates to be reasonable and cited to Houston v. South Bay Investors, No. 101, LLC, 2013 W L

3874026 (S.D. Fla. July 25, 2013), a case in which the court found a rate of $420.00 for an attorney

and a rate of $115.00 for paralegal work to be reasonable. In 2018, Thomas B. Bacon was awarded

the hourly rate of $425.00 and Kathy Houston awarded the hourly rate of $350.00 in Kennedy v.

Satya Group, LLC, Case Number 2:17-cv-14393-RLR, DE15 (S.D. Fla January 3, 2018). In

Kennedy v. JM Three f/g/r Corp., 9:15-cv-80068-Marra, Judge Marra awarded Plaintiff         counsel

$400.00 per hour. See DE12, 14. In 2020, attorney Bacon was awarded $400/hr and attorney

Houston was awarded $350/hr in Kennedy v. FL July Eleven, LLC, 19-cv-62423-UU, DE 26 (S.D.

Fla. June 24, 2020).
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by various                attorneys. In 2011, attorney Brian Blair, who is located in the Middle

District of Florida, received $420.00/hr. Mr. Blair has been a practicing attorney since 19931, four

years fewer than Attorney Bacon. See Exhibit C. As of 2011, the firm of Baker Hostetler charged

its clients at the hourly rates of $375.00 for an attorney of 8 years; $375.00 for an attorney of 6

years. Id. In 2012, defense attorney Dana Watts submitted an affidavit in the Middle District

advising the Court that he charges $300.00 per hour, even though he had handled fewer than 10

ADA cases. See Exhibit D. A

rate charged by defense attorneys as far back as 2012 was $350.00. See Exhibit E. Defense

attorney Daniel Levine (who represents both plaintiffs and defendants) filed timesheets in Lord v.

PBG Delivery Dudes, LLC, 9:18-cv-80665-RLR, DE 14-8 (S.D. Fla. 8/7/18) indicating that he

 charges the hourly rate of $425.00/hour. See Exhibit F. Those rates were approved. Id. at DE 15.

        Of particular importance, it must be pointed out that these defense lawyers are paid on

retainer, are compensated regardless of whether they win or lose, and do not incur any out-of-

pocket expenses. By contrast,              counsel is paid only if Plaintiff prevails. In the event of

                                 suffers monetary losses in the form of expert fees, filing fees,

process server and mediation fees. For these reasons, Thomas B. Bacon should be awarded hourly




hourly rate of $350.00 is also reasonable, when defense firms are charging comparable rates for

attorneys with equal or less experience.




 Information pertaining to the year of each respective attorney was admitted was obtained from
www.floridabar.org.
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        The factors to be considered when setting a fee include: (a) the amount involved and the

results obtained; (b) the time and labor required; (c) the novelty and difficulty of the issues; (d) the

skill required to perform the legal services properly; (e) the preclusion of other employment;

(f) the customary fee; (g) whether the fee is fixed or contingent; (h) the time limitations imposed

by the client or circumstances; (i) the experience, reputation and ability of the attorneys; (j) the

undesirability of the case; (k) the nature and length of the professional relationship with the client;

and (l) awards in similar cases. Hensley, supra, p. 429-430, Johnson v. Georgia Highway Express,

Inc., 488 F.2d 714, 717-719 (5th Cir. 1974).

        A.      The Amount Involved and The Results Obtained

        The Supreme Court has held that the most critical factor in determining the reasonableness

of a fee award is the degree of success obtained. Hensley, 461 U.S. at 436; Farrar v. Hobby, 506

US 103, 114 (1992). See also Pearson v. Fair, 980 F.2d 37 (1st Cir. 1992).

        Plaintiff submits that the benefit of the litigation to the public as a whole is a crucial factor

under the Johnson analysis when determining fees. Public policy may support an award of



high in comparison to the actual damages suffered. Knight v. Auciello, 453 F.2d 852 (1st Cir.



to the public as a whole attained as a result of the civil rights action. In Villano v. Boynton Beach,

254 F.3d 1302, 1306 (11th Cir. 2001) the Court

a public interest ...[and] [p]ublic benefit is a distinct measure of success in civil rights actions and

... a court must account for that distinct measure of success when calculating an award of fees and



to the public interests that were vindicated for the Plaintiff and disabled persons as a result of this

litigation. Defendants should now be required to make their premises fully compliant which will
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assist not only the Plaintiff but also all disabled persons. See Hensley, 461 U.S. at 1940 (where a

Plaintiff has obtained excellent results, his attorney should recover a fully compensable fee). As

one court referenced in Village Nurse Association of North Shore, Inc v. Bullen, 1995 U.S. Dist.



of these civil rights laws depend heavily upon private enforcement, and fee awards have proved

an essential remedy if private citizens are to have a meaningful opportunity to vindicate the

important Congressional policies which these laws

omitted).

          In the case at bar, Plaintiff obtained significant beneficial results which substantially
                                                                                          2
                                                                                              .

          B.      The Time and Labor Required

          Considerable time and effort were required to obtain the resolution of this case. Plaintiff

filed this action requesting that Defendant timely remove barriers to access at its premises so that

Plaintiff and other wheelchair bound disabled persons could avail themselves of the same goods

and services enjoyed by the general public.

          As set forth in the time sheets and docket entries,                         spent considerable

time on this matter. The timesheets of Thomas B. Bacon are appended to his Affidavit as Exhibit

A-2 and the timesheets of Kathy L. Houston are attached to her Affidavit as Exhibit B-2. As set

forth therein, Thomas B. Bacon expended 2.7 hours and Kathy L. Houston expended 12.2 hours.

This time was reasonable and necessary to bring this matter to conclusion with the beneficial

                                                                                                       fee

a                                                               l in filing, preparing, and litigating this



    This is a suit for injunctive relief and no monetary
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fee application and any fee hearings thereon is compensable. See Martin v. University of South

Alabama, 911 F.2d 604, 610 (11th Cir. 1990); Guerrero v. Commings, 70 F.3d 1111 (9th Cir.

1995); Davis v. City and County of San Francisco, 976 F.2d 1536, 1544 (9th Cir. 1992); Valley

Disposal, Inc. v. Central Vermont Solid Waste Mgmt. Dist., 71 F.3d 1053 (2nd Cir. 1995); Barlow-

Gresham Union High School District No. 2 v. Mitchell, 940 F.2d 80 (9th Cir. 1991); Lund v.

Affleck, 587 F.2d 75 (1st Cir. 1978); Gagne v. Maher, 594 F.2d 336 (1979); Johnson v. State of

Mississippi, 606 F.2d 635 (5th Cir. 1979); Bagby v. Beal, 606 F.2d 411 (3d Cir. 1979); Prandini

v. National Tea Company, 585 F.2d 47 (3d Cir. 1978).

       C.      The Novelty And Difficulty of The Questions Presented And The Skill
               Requisite To Perform The Legal Service Properly

       Attorneys Thomas B. Bacon and Kathy L. Houston regularly represent disabled plaintiffs

in actions against places of public accommodations seeking the removal of ADA violations. It is

estimated that there are very few firms nationwide that litigate Title III ADA claims. Thus, Thomas

B. Bacon and the undersigned have developed forms and procedures aimed at reducing the number

of hours incurred at the inception of the case. For example, a complaint that would normally require

10-15 hours to generate only requires 2-4 hours for this attorney. Such efficiency, however, should

not be construed as an indication that ADA cases do not present novel and difficult questions. To

the contrary, representation of plaintiffs in ADA actions presents numerous issues regarding

entitlement to injunctive relief, standing, barriers to access, undue burden, exemptions, new

construction and alterations versus pre-ADA construction, extensive knowledge of the ADAAGs

(relevant ADA accessibility guidelines), Technical Assistance Manual and a multitude of other

guides issued by the Department of Justice, and regulations pertaining to hotel online reservations

systems.
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       Plaintiff submits that the novelty and difficulty of the issues presented in ADA actions, and

the skill requisite to properly address such issues justify a higher rate than many other areas of

practice.

       D.      The Preclusion of Other Employment Due To Acceptance of The Case And
               The Undesirability of The Case

       It has been recognized that plaintiff and her attorneys in cases such as the one at issue

herein are the subjects                         Mallory v. Harkness, 923 F. Supp. 1546, 1555 (S.D.



                                                                                         e other hand,

                                                                                See e.g., Hensley, 461

U.S. at 445. It is seldom admitted that the primary, and perhaps singular, reason public places are

beginning to comply with the obligations of the ADA is because of these private attorney generals

filing enforcement suits.

       Yet, because of the negative publicity and attitude that many have toward Title III ADA

actions, the undersigned is predictably precluded from other employment based on acceptance of

the case. For instance, it is highly unlikely that undersigned counsel will attract business clientele.



                                  ically impacted by their decision to help the civil rights litigant.

As explained in Johnson v. Georgia Highway Exp., Inc. , 488 F.2d 714, 719 (5th Cir. 1974):


       the civil rights litigant.... Oftentimes his decision to help eradicate discrimination is not
       pleasantly received by the community or his contemporaries. This can have an economic


       Additionally, in the instant case, the undersigned attorney expended the time referenced

above in the prosecution of this action. This time, spent on a contingency basis, could have been

spent on other matters.
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        E.      The Customary Fee And Fees Awarded In Similar Cases

        Discussed supra.

        F.      Whether The Fee is Fixed or Contingent

        The fee in the instant action is contingent                                           incurred

                                                                                    ould receive any

compensation at all. Therefore, in setting a reasonable hourly rate, Plaintiff submits that this Court

should award the higher range of rates to account for the length of time and uncertainty that counsel

would be paid at all.

        G.      The Time Limitations Imposed by the Client or Circumstances

        Because the barriers to access complained of by Plaintiff restricted and/or limited



undersigned did not work on the case and make every effort to expedite its resolution, by pursuing

litigation, was another day that the subject property would remain inaccessible.

        H.      The Experience, Reputation and Ability of the Attorneys

        The qualifications and experience of counsel were discussed supra.

have the experience, reputation, and ability that the Johnson Court, supra, looks to when

determining fees.

        I.      The Nature and Length of the Professional Relationship with the Client

        The undersigned attorney as well as Thomas B. Bacon have represented plaintiffs in several

other actions and have a continuing relationship with their clients. This has led to increased

efficiency in the prosecution of this litigation.

III. COSTS AND LITIGATION EXPENSES

        A.      Costs
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       A prevailing party is entitled to costs pursuant to Rule 54(d) of the Federal Rules of Civil

Procedure. These costs are defined by 28 U.S.C. §1920, which provides for recovery of, inter alia,

(1) fees of the Clerk and process server; (2) court reporter




fees. Additionally, in civil rights actions, a prevailing party may recover expenses not normally

available under §1920. See Dowdell v. City of Apopka, 698 F. 2d 1181, 1189-92 (11th Cir 1983).

                                                                                        sorbed by the

practicing attorney, all reasonable expenses incurred in case preparation, during the course of



court for its refusal to tax travel, telephone, and postage expenses as costs.

       In Davis v. Mason County, 927 F. 2d 1473, 1488 (9th Cir. 1991), the Ninth Circuit

discussed the recovery of travel expenses under 42 USC §1988:

                                                                                  penses were not
       granted as costs under section 1920, but rather as out-of-court expenses compensable under
       section 1988. Courts have generally held that expenses incurred during the course of
       litigation which are normally billed to fee-paying clients should be taxed under section
       1988. Dowdell, supra at 1190, Palmigano v. Garraby, 707 F. 2d 636,637 (1st Cir 1983);
       Northcross v. Board of Education, 611 F. 2d 624, 639 (6th Cir. 1979); cert. denied, 447
       U.S. 911 (1980).

       As the Eleventh Circuit said in Dowdell:



       equally vital components of the cost of litigation. The factually complex and protracted
       nature of civil rights litigation frequently makes it necessary to make sizeable out-of-pocket
       expenses which maybe essential to success as the intellectual skills of the attorneys. If these
       costs are not taxable, and the client, as is often the case, cannot afford to pay for them, they
       must be borne by counsel, reducing the fees award accordingly. Thus, following the
       reasoning adopted in upholding the award of expert witness fees, we also affirm the district
       courts award of travel expenses pursu
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(Exhibit A-3).

       B.        Litigation Expenses Include Expert Fees

       The ADA expressly states that the prevailing party may receive                           fees,

                                                                 Lovell v. Chandler, 303 F. 3d 1039,



witness fees, we hold that the statutory provision provides direct authority for the award of expert

                  Robins v. Scholastic Book Fairs, 928 F. Supp 1027, 1036 (D. Or. 1996) (finding

that litigation expenses include the costs of expert witnesses); Association for Disabled Americans,

Inc., et. al. v. North Beach Plaza, Inc., supra, (awarding expert fees of $3755.50 at $185 per hour);

Access for the Disabled, Inc. V. Scit, Inc., Case No. 06-2888 (N.D. Oh. 2007)(awarding $6,350.00

in expert fees at hourly rate of $175.00 for initial inspection and $200.00 per hour for the final

inspection).

V.     Costs of Reinspection And Monitoring of Compliance

       The proposed $600.00 reinspection fee is for the reinspection contemplated after the

Defendant completes the repairs of the existing barriers to access, to confirm that the ADA

violations have been corrected. Reinspection fees have been awarded in civil rights cases in order

to monitor compliance with the court order. A $1,000.00 reinspection fee was awarded in Kennedy

v. Satya Group, LLC, supra. See also, Access for America, Inc. v. Oakwood Center, L.C., Case No.

8:02-civ-464-T-30MSS (M.D. Fla. 2003); Access for America, Inc. v. Fram Fed Four, Inc. Case

No. 02-60605-civ-Lenard/Simonton, at p. 14 (S.D. Fla. 2002); Access 4 All, Inc. v. Business

Consultants International Corp. Case No. 02-21482-civ-Ungaro-Benages/Brown p. 10 (S.D. Fla.

2002); Access 4 All, Inc. v. Safari Investments, Inc. Case No. 01-4795-civ-Jordan/Bandstra, p. 11

(S.D. Fla. 2002). Various circuit courts have held that services required in the post-judgment
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monitoring to ensure continuing compliance with a consent decree in civil rights cases are

compensable. See Keith v. Volpe , 833 F. 2d. 850, 855-56 (9th Cir. 1987), Johnson v. City of Tulsa,

489 F.3d 1089, 1106 (10th Cir. 2007), Northcross v. Board of Education, 611 F. 2d 624, 637 (6th

Cir. 1980); Garrity v. Sununu, 752 F. 2d 727, 738-39 (1st Cir. 1984), Jenkins v. State of Missouri,

127 F. 3d 709, 716-720 (8th Cir. 1997). At least one Circuit has awarded compensation for such

services prospectively.   See Lindy Bros. Builders, Inc. of Philadelphia v. American Radiator &

Standard Sanitary Corp., 540 F.2d 102, 121 (3d Cir. 1976).

VI.



for their time incurred in generating their fee petition and attending any fee hearings. See Prandini

v. National Tea Company, 585 F.2d 47, 53 (3rd Cir. 1978); Bagby v. Beal, 606 F.2d 411, 416 (3rd

Cir. 1979; Barlow-Gresham Union High School District No. 2 v. Mitchell, 940 F.2d 1280, 1286

(9th Cir. 1990); Martin v. University of South Alabama, 911 F.2d 604,610 (11th Cir. 1990);

Coulter v. State of Tennessee, 805 F.2d 146, 151 (6th Cir. 1986); In re Nucorp Energy, Inc., 764

F.2d 655, 660-661 (9th Cir. 1985); Johnson v. State of Mississippi, 606 F.2d 635, 638 (5th Cir.

1979); Gagne v. Maher, 594 F.2d 336, 343-44 (2nd Cir. 1979); Weisenberger v. Huecker, 593 F.2d

49, 53-54 (6th Cir. 1979); Lund v. Affleck, 587 F.2d 75, 77 (1st Cir. 1978).

       As hereinbefore explained, and as itemized in the invoice submitted, Plaintiff has incurred

the sum of $6,252.50 in fees and expenses and anticipates further expenses of $600.00, for a total

of $6,852.50. This is based on 1.9 hours expended by Attorney Thomas B. Bacon, (Exhibit A-2)

multiplied by the sought hourly rate of $425.00, for a total of $807.50; 12.3 hours expended by

Attorney Kathy L. Houston (Exhibit B-2), multiplied by a sought hourly rate of $350.00, for a total

of $4,305.00; filing fees in the amount of $400.00, fees to the initial investigator in the amount of

$600.00, process server fees in the amount of $140.00 and anticipated reinspection fees of $600.00.
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Plaintiff’s counsel below certifies that she has fully reviewed the time records and supporting data

and that the motion is well grounded in fact and is justified. Thus, Plaintiff’s total expert fees,

attorney fees, costs and litigation expenses are $6,852.50.

                                         CONCLUSION

       WHEREFORE, Plaintiff respectfully moves this Court to award

fees, expenses and costs incurred in this action in the amount of $6,852.50.

       Dated this 10th day of February, 2021.

                                              Respectfully Submitted,

                                              Attorneys for Plaintiff

                                              Kathy L. Houston, Esq., Of Counsel
                                              THOMAS B. BACON, P.A.
                                              15321 S. Dixie Highway, Suite 205
                                              Miami, FL 33157
                                              Tel: (305) 420-6609 Fax (786) 441-4416
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                                              By:     /s/ Kathy      ton       _
                                              Kathy L. Houston, Esq.
                                              Florida Bar No: 56042
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              CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I hereby certify that the foregoing document is being served this 10th day of February,

2021, on counsel of record or pro se parties identified on the attached Service List in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.

                                       SERVICE LIST

       Bharatkumar R. Patel, Registered Agent for Shrinathji-Krupa, Inc., d/b/a
       Country Hearth Inn & Suites, 25 Carson Loope, Cartersville, Georgia
       30164


                                                    /s/ Kathy L. Houston                         .
                                               Kathy L. Houston, Esq.
